         Case 2:09-cr-00132-JAD-EJY          Document 245          Filed 07/17/14      Page 1 of 1




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 5
                       UNITED STATES DISTRICT COURT
 6
                            DISTRICT OF NEVADA
 7                                                  -oOo-

 8
       UNITED STATES OF AMERICA,                        Case No. 2:09-CR-132-JAD-GWF
 9
                Plaintiff
10                                                      MOTION TO DISMISS DEFENDANT
         vs.                                            URBAN CASAVANT
11
       [3] URBAN CASAVANT,
12
                 Defendant
13
            THE UNITED STATES OF AMERICA, by the United States Attorney and undersigned
14
     Assistant United States Attorneys, hereby files its Motion to Dismiss Defendant Urban Casavant
15
     under Rule 48(a). Defendant Urban Casavant died on February 14, 2014 in Saskatoon,
16
     Saskatchewan, Canada. At this time, the United States moves to dismiss the charges pending
17
     against him in the above captioned matter.
18
            RESPECTFULLY SUBMITTED this 14th day of July 2014.
19
                                                    Daniel G. Bogden
20                                                  United States Attorney
                                                    District of Nevada
21

22                                                              /s/               .
                                                    Kathryn C. Newman
23                                                  Assistant United States Attorney
24   IT IS SO ORDERED.
        Dated: July 17, 2014.
                                                            _____________________________
                                                            United States District Judge
